                                                                                                                    Case 3:19-cv-07071-SI       Document 109   Filed 06/01/21     Page 1 of 21


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                                                                                                        14   FACEBOOK, INC. and INSTAGRAM, LLC

                                                                                                        15                                UNITED STATES DISTRICT COURT

                                                                                                        16                             NORTHERN DISTRICT OF CALIFORNIA

                                                                                                        17                                       SAN JOSE DIVISION

                                                                                                        18   FACEBOOK, INC. and INSTAGRAM, LLC,           Case No. 5:19-cv-07071-SVK

                                                                                                        19                        Plaintiffs,             SECOND AMENDED COMPLAINT FOR
                                                                                                                                                          CYBERSQUATTING; TRADEMARK
                                                                                                        20          v.                                    INFRINGEMENT; FALSE DESIGNATION
                                                                                                                                                          OF ORIGIN; AND DILUTION
                                                                                                        21   ONLINENIC INC., DOMAIN ID SHIELD
                                                                                                             SERVICE CO., LIMITED, and XIAMEN             DEMAND FOR JURY TRIAL
                                                                                                        22   35.COM INTERNET TECHNOLOGY CO.,
                                                                                                             LTD.,
                                                                                                        23
                                                                                                                                  Defendants.
                                                                                                        24

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                                                                                                                                                                                SECOND AMENDED COMPLAINT
                                                                                                                                                                                   CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI         Document 109        Filed 06/01/21      Page 2 of 21


                                                                                                         1          Plaintiffs Facebook, Inc. (“Facebook”) and Instagram, LLC (“Instagram”) (collectively

                                                                                                         2   “Plaintiffs”) by and through their attorneys, Tucker Ellis LLP, file their complaint against Defendants

                                                                                                         3   OnlineNIC, Inc. (“OnlineNIC”), Domain ID Shield Service Co., Limited (“ID Shield”) and Xiamen

                                                                                                         4   35.com Internet Technology Co., Ltd. (“35.CN”) (collectively “Defendants”) for injunctive relief and

                                                                                                         5   damages.

                                                                                                         6   INTRODUCTION

                                                                                                         7          1.      Cybercrime is highly dependent on registered domain names, which are used to send spear

                                                                                                         8   phishing emails, operate malware, and engage in other types of online abuse. According to the Internet

                                                                                                         9   Corporation of Assigned Names and Numbers (ICANN), as of July 31, 2019, there were over 800,000
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                                                                                                        10   resolving domain names used for phishing, malware, spam, and botnets.

                                                                                                        11          2.      Cybercriminals often rely on domain name privacy registration services, and specifically

                                                                                                        12   proxy services, to hide their ownership and control of malicious domains from the public. In exchange for

                                                                                                        13   a fee, proxy services conceal the domain name registrant’s identity as listed on publicly available domain
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                                                                                                        14   name registration records. These proxy services, like the services offered by Defendants, are increasingly

                                                                                                        15   used by cybercriminals as they cycle through domain names in order to conceal their identity and evade

                                                                                                        16   detection.

                                                                                                        17          3.      35.CN is an ICANN-accredited domain name registrar. 35.CN’s alter ego, OnlineNIC, also

                                                                                                        18   is an ICANN-accredited domain name registrar. 35.CN’s and OnlineNIC’s alter ego, ID Shield, provides

                                                                                                        19   a type of domain name privacy service, specifically a proxy service as defined in the ICANN Registrar

                                                                                                        20   Accreditation Agreement (“RAA”), to OnlineNIC customers. According to one internet security group,

                                                                                                        21   domain names registered by OnlineNIC were reported for abuse in approximately 40,000 instances. In

                                                                                                        22   2019, one internet security group reported that OnlineNIC was one of the top 20 domain name registrars

                                                                                                        23   used for abuse.

                                                                                                        24          4.      Defendants have repeatedly failed to take appropriate “steps to investigate and respond

                                                                                                        25   appropriately to any reports of abuse” as required by the RAA and have failed to provide abusive domain

                                                                                                        26   name registrants’ names and contact information to victims of online abuse as required under the RAA.

                                                                                                        27          5.      For years, Defendants, as registrants and as alter egos of each other, have registered domain

                                                                                                        28   names (such as hackingfacebook.net) that have been used for malicious activity, including phishing and
                                                                                                                                                                  2
                                                                                                                                                                                       SECOND AMENDED COMPLAINT
                                                                                                                                                                                          CASE NO. 5:19-CV-07071-SVK
                                                                                                                     Case 3:19-cv-07071-SI         Document 109        Filed 06/01/21      Page 3 of 21


                                                                                                         1   hosting websites that purported to sell hacking tools. These domain names also have infringed on

                                                                                                         2   Plaintiffs’ trademarks. Plaintiffs have sent multiple notices to Defendants providing evidence of domain

                                                                                                         3   name abuse and infringement. Defendants did not timely provide the information requested in any of

                                                                                                         4   Plaintiffs’ notices.

                                                                                                         5           6.      Plaintiffs seek relief from Defendants, as alter egos of each other, who have registered (as

                                                                                                         6   the registrant), used, and trafficked in domain names that include Plaintiffs’ trademarks. Plaintiffs seek

                                                                                                         7   damages and injunctive relief against Defendants to stop their ongoing unlawful and harmful conduct,

                                                                                                         8   pursuant to the Lanham Act and the Anti-Cybersquatting Consumer Protection Act (15 U.S.C. § 1125).

                                                                                                         9   I.      THE PARTIES
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                                                                                                        10           7.      Plaintiff Facebook, Inc. is a Delaware corporation with its principal place of business in

                                                                                                        11   Menlo Park, California.

                                                                                                        12           8.      Plaintiff Instagram, LLC is a Delaware limited liability company with its principal place

                                                                                                        13   of business in Menlo Park, California.
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                                                                                                        14           9.      Defendant OnlineNIC Inc. is a California corporation with its principal place of business

                                                                                                        15   in San Leandro, California. Defendant OnlineNIC is a domain name registrar that sells, registers and

                                                                                                        16   transfers domain names for third parties.

                                                                                                        17           10.     Defendant ID Shield, is a Hong Kong, China limited company. Defendant ID Shield

                                                                                                        18   provides a type of domain name privacy service, specifically a proxy service, for OnlineNIC’s customers.

                                                                                                        19   ID Shield registers domain names, as the registrant, and licenses these domain names to OnlineNIC’s

                                                                                                        20   customers.

                                                                                                        21           11.     Defendant 35.CN. is a corporation registered under the laws of Xiamen, Fujian Province.

                                                                                                        22   35.CN is a domain name registrar that sells, registers and transfers domain names for third parties. 35.CN

                                                                                                        23   controls, manages and runs the operations of OnlineNIC and ID Shield.

                                                                                                        24           12.     At all times material to this action, OnlineNIC, ID Shield and 35.CN are and were

                                                                                                        25   instrumentalities and alter egos of each other. OnlineNIC is and was also the direct participant in the

                                                                                                        26   actions of ID Shield as alleged in this Second Amended Complaint. 35.CN is and was the direct participant

                                                                                                        27   in the actions of both OnlineNIC and ID Shield as alleged in this Second Amended Complaint.

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                                                                                                                                                                                        SECOND AMENDED COMPLAINT
                                                                                                                                                                                           CASE NO. 5:19-CV-07071-SVK
                                                                                                                         Case 3:19-cv-07071-SI       Document 109         Filed 06/01/21     Page 4 of 21


                                                                                                         1   II.     JURISDICTION AND VENUE

                                                                                                         2           13.       The Court has federal question jurisdiction over the federal causes of action alleged in this

                                                                                                         3   complaint pursuant to 28 U.S.C. § 1331.

                                                                                                         4           14.       The Court has personal jurisdiction over Defendant OnlineNIC, and its alter egos ID Shield

                                                                                                         5   and 35.CN, because OnlineNIC maintains and operates its business in California.

                                                                                                         6           15.       The Court has personal jurisdiction over the Defendants because each of them knowingly

                                                                                                         7   directed and targeted parts of their unlawful scheme at Plaintiffs, which have their principal places of

                                                                                                         8   business in California. Defendants also transacted and conducted business and engaged in commerce in

                                                                                                         9   California by entering into one or more contracts that included an agreement to submit to the Court’s
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                                                                                                        10   jurisdiction. A copy of one such agreement is attached to this Complaint as Exhibit 1.

                                                                                                        11           16.       Venue is proper with respect to each of the Defendants pursuant to 28 U.S.C. §1391(b)(2)

                                                                                                        12   because a substantial part of the events and omissions giving rise to the claims alleged occurred in this

                                                                                                        13   district.
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                                                                                                        14           17.       Pursuant to Civil L.R. 3-2(c), this case is exempt from the Court’s division-specific venue

                                                                                                        15   rule because it involves intellectual property rights.

                                                                                                        16   III.    FACTUAL ALLEGATIONS

                                                                                                        17           A.        Background on Plaintiffs and their Trademarks

                                                                                                        18           18.       Facebook offers a social networking website and mobile application that enables its users

                                                                                                        19   to create their own personal profiles and connect with each other on their personal computers and mobile

                                                                                                        20   devices.

                                                                                                        21           19.       Facebook owns the exclusive rights to several trademarks and service marks to provide its

                                                                                                        22   online services, including the distinctive FACEBOOK word mark and stylized mark, and has used the

                                                                                                        23   marks in connection with its services since 2004.

                                                                                                        24           20.       In addition to its extensive common law rights, Facebook owns numerous United States

                                                                                                        25   registrations for its FACEBOOK marks, including:

                                                                                                        26                     a. United States Registration Number 3,122,052; and

                                                                                                        27                     b. United States Registration Number 3,881,770.

                                                                                                        28   Copies of these registration certificates are attached to this Second Amended Complaint as Exhibit 2.
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                                                                                                                                                                                           SECOND AMENDED COMPLAINT
                                                                                                                                                                                              CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI        Document 109        Filed 06/01/21      Page 5 of 21


                                                                                                         1   Facebook’s common law and registered trademarks are collectively referred to as the “Facebook

                                                                                                         2   Trademarks.”

                                                                                                         3          21.     Facebook’s use of the Facebook Trademarks in interstate commerce has been extensive,

                                                                                                         4   continuous, and substantially exclusive. Facebook has made, and continues to make, a substantial

                                                                                                         5   investment of time, effort, and expense in the promotion of Facebook and the Facebook Trademarks. As

                                                                                                         6   a result of Facebook’s efforts and use, the Facebook Trademarks are famous (and have been famous since

                                                                                                         7   at least as early as 2011) as they are recognized within the US and around the world as signifying high-

                                                                                                         8   quality, authentic goods and services provided by Facebook.

                                                                                                         9          22.     Instagram offers a photo and video sharing and editing service, mobile application, and
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                                                                                                        10   social network. Instagram users can choose to share their photos and videos with their followers online.

                                                                                                        11          23.     Instagram owns the exclusive rights to the distinctive INSTAGRAM word mark and

                                                                                                        12   stylized mark, having used the marks in connection with its goods and services as early as 2010.

                                                                                                        13          24.     In addition to its extensive common law rights, Instagram owns numerous United States
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                                                                                                        14   registrations for the INSTAGRAM marks, including:

                                                                                                        15                  c. United States Registration Number 4,795,634;

                                                                                                        16                  d. United States Registration Number 4,146,057;

                                                                                                        17                  e. United States Registration Number 4,756,754;

                                                                                                        18                  f. United States Registration Number 5,566,030;

                                                                                                        19                  g. United States Registration Number 4,170,675;

                                                                                                        20                  h. United States Registration Number 4,856,047;

                                                                                                        21                  i. United States Registration Number 4,822,600;

                                                                                                        22                  j. United States Registration Number 4,827,509;

                                                                                                        23                  k. United States Registration Number 4,863,595; and

                                                                                                        24                  l. United States Registration Number 5,019,151.

                                                                                                        25   Copies of these registration certificates are attached to this Second Amended Complaint as Exhibit 3.

                                                                                                        26   Instagram’s common law and registered trademark rights are collectively referred to as the “Instagram

                                                                                                        27   Trademarks.”

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                                                                                                                                                                                      SECOND AMENDED COMPLAINT
                                                                                                                                                                                         CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI          Document 109        Filed 06/01/21      Page 6 of 21


                                                                                                         1          25.     Instagram’s use of the Instagram Trademarks in interstate commerce has been extensive,

                                                                                                         2   continuous, and substantially exclusive. Instagram has made, and continues to make, a substantial

                                                                                                         3   investment of time, effort, and expense in the promotion of Instagram and the Instagram Trademarks. As

                                                                                                         4   a result of Instagram’s efforts and use, the Instagram Trademarks are famous (and have been famous since

                                                                                                         5   at least as early as 2014) as they are recognized within the US and around the world as signifying high-

                                                                                                         6   quality, authentic goods and services provided by Instagram.

                                                                                                         7          B.      OnlineNIC is responsible for the actions of ID Shield because ID Shield is an alter ego

                                                                                                         8                  of OnlineNIC and OnlineNIC is a direct participant in those actions

                                                                                                         9          26.     Defendants OnlineNIC and 35.CN are accredited by ICANN and subject to ICANN’s
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                                                                                                        10   RAA. A copy of the RAA is attached to this Second Amended Complaint as Exhibit 4.

                                                                                                        11          27.     Defendant ID Shield provides a type of domain name privacy service, specifically a proxy

                                                                                                        12   service, on behalf of Defendant OnlineNIC. ID Shield is the registrant of the domain name, and is listed

                                                                                                        13   as the registrant in the WHOIS directory.
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                                                                                                        14          28.     ID Shield registers domain names as the registrant, and licenses these domain names either

                                                                                                        15   to OnlineNIC for its use or to OnlineNIC’s customers for their use (the “Licensees”). OnlineNIC’s website

                                                                                                        16   refers to ID Shield’s services as “OnlineNIC ID Shield.” A screen capture of OnlineNIC’s “Domain

                                                                                                        17   Privacy” page from its website is attached to this Second Amended Complaint as Exhibit 5.

                                                                                                        18          29.     The ID Shield Service Agreement, found on the OnlineNIC website, is attached to this

                                                                                                        19   Second Amended Complaint as Exhibit 6. According to the ID Shield Service Agreement, “[i]f you

                                                                                                        20   subscribe to the IDS Services, each domain name registration which you control and which [uses the

                                                                                                        21   ID Shield service] will thereafter be registered in the name of [ID Shield], as registrant.”

                                                                                                        22          30.     ID Shield has no bank accounts or assets and is undercapitalized.

                                                                                                        23          31.     ID Shield has no employees.

                                                                                                        24          32.     ID Shield does not conduct regular shareholder meetings and does not maintain corporate

                                                                                                        25   records.

                                                                                                        26          33.     OnlineNIC controls the operations of ID Shield.

                                                                                                        27          34.     OnlineNIC controls the policy decisions made by ID Shield.

                                                                                                        28          35.     OnlineNIC controls which agreements into which ID Shield enters.
                                                                                                                                                                  6
                                                                                                                                                                                        SECOND AMENDED COMPLAINT
                                                                                                                                                                                           CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI         Document 109          Filed 06/01/21     Page 7 of 21


                                                                                                         1          36.      OnlineNIC pays all of the expenses of ID Shield.

                                                                                                         2          37.      OnlineNIC collects all revenue from ID Shiel’s domain name registration proxy service.

                                                                                                         3          38.      OnlineNIC and ID Shield do not engage in arms-length transactions when they conduct

                                                                                                         4   transactions with each other.

                                                                                                         5          39.      Carrie Yu aka Carrie Arden aka Yu Hongxia (“Carrie Yu”) owns ID Shield for the benefit

                                                                                                         6   of OnlineNIC.

                                                                                                         7          40.      Carrie Yu is a director and officer for both ID Shield and OnlineNIC.

                                                                                                         8          41.      The domain names domainidshield.com and onlinenic.com are hosted on the same IP

                                                                                                         9   address, and their websites contain links to each other.
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                                                                                                        10          42.      The Licensees purchase and pay for the ID Shield services directly from their OnlineNIC

                                                                                                        11   user account.

                                                                                                        12          43.      ID Shield is a de facto subsidiary of OnlineNIC.

                                                                                                        13          C.       35.CN is responsible for the actions of OnlineNIC and ID Shield because OnlineNIC
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                                                                                                        14                   and ID Shield are alter egos of 35.CN and 35.CN is a direct participant in those actions

                                                                                                        15          44.      Carrie Yu, the sole director of OnlineNIC, is an employee of 35.CN.

                                                                                                        16          45.      The day-to-day operations of OnlineNIC, including all technical support and customer

                                                                                                        17   support, are carried out by employees of 35.CN.

                                                                                                        18          46.      The day-to-day operations of ID Shield, including all technical support and customer

                                                                                                        19   support, are carried out by employees of 35.CN.

                                                                                                        20          47.      35.CN and OnlineNIC share the same domain name registration database, which is used to

                                                                                                        21   operate the registrar businesses for both 35.CN and OnlineNIC.

                                                                                                        22          48.      35.CN shares office space in its office building for OnlineNIC and ID Shield.

                                                                                                        23          49.      35.CN provides technical support staff and technical support services to OnlineNIC and

                                                                                                        24   ID Shield..

                                                                                                        25          50.      Plaintiffs are informed and believe, and on that basis allege, that OnlineNIC has no

                                                                                                        26   employees who carry out the day-to-day registrar operations of OnlineNIC.

                                                                                                        27          51.      Plaintiffs are informed and believe, and upon that basis allege, the incorporator and

                                                                                                        28   founding president of OnlineNIC is the controlling shareholder of 35.CN.
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                                                                                                                                                                                         SECOND AMENDED COMPLAINT
                                                                                                                                                                                            CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI          Document 109       Filed 06/01/21     Page 8 of 21


                                                                                                         1          52.      Plaintiffs are informed and believe, and upon that basis allege, 35.CN controls the

                                                                                                         2   operations of OnlineNIC and ID Shield.

                                                                                                         3          53.      Plaintiffs are informed and believe, and upon that basis allege, 35.CN controls the policy

                                                                                                         4   decisions made by OnlineNIC and ID Shield.

                                                                                                         5          54.      Plaintiffs are informed and believe, and upon that basis allege, 35.CN controls which

                                                                                                         6   agreements into which OnlineNIC and ID Shield enters.

                                                                                                         7          55.      OnlineNIC and ID Shield are de facto subsidiaries of 35.CN.

                                                                                                         8          D.       Defendants Registered, Used, or Trafficked In the Infringing Domain Names

                                                                                                         9          56.      OnlineNIC, ID Shield and 35.CN registered, used, or trafficked in, at least the following
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                                                                                                        10   35 domain names that are identical or confusingly similar to the Facebook Trademarks and the Instagram

                                                                                                        11   Trademarks (the “Infringing Domain Names”):

                                                                                                        12                1. buyinstagramfans.com                             18. hackfacebook-now.com

                                                                                                        13                2. face2bouk.com                                    19. hackingfacebook.net
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                                                                                                        14                3. facebook-alkalmazasok.net                        20. hacksomeonesfacebook.com

                                                                                                        15                4. facebook-chat-emoticons.com                      21. iiinstagram.com

                                                                                                        16                5. facebook-fans-buy.com                            22. instaface.org

                                                                                                        17                6. facebook-login-signup.com                        23. instagram01.com

                                                                                                        18                7. facebook-mails.com                               24. instakram.com

                                                                                                        19                8. facebook-pass.com                                25. lamsocialfacebook.net

                                                                                                        20                9. facebookphysician.com                            26. learntohackfacebook.com

                                                                                                        21                10. facebook-pw.com                                 27. login-lnstargram.com

                                                                                                        22                11. facebookvideodownload.net                       28. m-facebook-login.com

                                                                                                        23                12. facebux2.com                                    29. ofacebooklogin.com

                                                                                                        24                13. facekhook.com                                   30. singin-lnstargram.com

                                                                                                        25                14. facessbook.com                                  31. trollfacebook.com

                                                                                                        26                15. faecb00k-page.com                               32. watch-facebook.com

                                                                                                        27                16. faecbook-page.com                               33. www-facebook-login.com

                                                                                                        28                17. findfacebookid.com                              34. www-facebook-pages.com
                                                                                                                                                                 8
                                                                                                                                                                                       SECOND AMENDED COMPLAINT
                                                                                                                                                                                          CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI         Document 109         Filed 06/01/21     Page 9 of 21


                                                                                                         1                35. www-instagram.net

                                                                                                         2          57.      ID Shield is the registrant for each of the Infringing Domain Names. A copy of WHOIS

                                                                                                         3   entries for many the Infringing Domain Names is attached to this Second Amended Complaint as

                                                                                                         4   Exhibit 7.

                                                                                                         5          58.      Plaintiffs are informed and believe, and upon that basis allege, Defendants registered each

                                                                                                         6   of the Infringing Domain Names using OnlineNIC’s registration services and ID Shield’s proxy service.

                                                                                                         7          59.      ID Shield trafficked in the Infringing Domain Names by licensing these domain names to

                                                                                                         8   the Licensees for their use.

                                                                                                         9          E.       Defendants’ Bad Faith Intent to Profit
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                                                                                                        10          60.      OnlineNIC has a history of cybersquatting on famous and distinctive trademarks.

                                                                                                        11          61.      On or about December 19, 2008, OnlineNIC was found liable for registering over 600

                                                                                                        12   domain names that were confusingly similar to the VERIZON mark. In the Verizon case, the Court

                                                                                                        13   awarded $33.15 million in damages and denied OnlineNIC’s motion to set aside or reduce the judgment.
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                                                                                                        14          62.      On or about December 19, 2008, Yahoo! Inc. alleged in a separate action that OnlineNIC

                                                                                                        15   registered at least 554 domain names that were identical or confusingly similar to its trademarks.

                                                                                                        16          63.      On or about October 7, 2008, Microsoft Corporation alleged in a separate action that

                                                                                                        17   OnlineNIC registered at least 97 domain names that were identical or confusingly similar to its trademarks.

                                                                                                        18          64.      OnlineNIC has been named in administrative complaints filed under the Uniform Domain-

                                                                                                        19   Name Dispute-Resolution Policy (“UDRP”). In many of these UDRP cases, OnlineNIC has verified to

                                                                                                        20   the dispute providers that OnlineNIC itself was the registrant of the domain name at issue in the complaint.

                                                                                                        21          65.      OnlineNIC has operated under one or more aliases, including “Junlong Zhen,” “lenawoo,”

                                                                                                        22   and “China-Channel,” to hide its involvement in registering as a registrant, using, and trafficking in

                                                                                                        23   infringing domain names.

                                                                                                        24          66.      OnlineNIC, ID Shield and 35.CN profit from the sale of the ID Shield proxy service,

                                                                                                        25   including providing the service to the end users of the Infringing Domain Names and to OnlineNIC.

                                                                                                        26   OnlineNIC, ID Shield and 35.CN profit from the sale of the ID Shield proxy service by collecting fees

                                                                                                        27   from the sale of that service.

                                                                                                        28          67.      The Licensees of the Infringing Domain Names intended to divert consumers to websites
                                                                                                                                                                9
                                                                                                                                                                                        SECOND AMENDED COMPLAINT
                                                                                                                                                                                           CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI         Document 109         Filed 06/01/21     Page 10 of 21


                                                                                                         1   using domain names that were confusingly similar to the Facebook Trademarks and the Instagram

                                                                                                         2   Trademarks. In some instances, the Infringing Domain Names have been used for malicious activity,

                                                                                                         3   including hosting websites directing visitors to other commercial sites, phishing, and selling purported

                                                                                                         4   tools for hacking. Screenshots of several of these websites hosted at the Infringing Domain Names are

                                                                                                         5   attached to this Complaint as Exhibit 8.

                                                                                                         6          68.     The Licensees also used some of the Infringing Domain Names in connection with email

                                                                                                         7   services, which is usually an indication that the domain name was used for phishing or other scams.

                                                                                                         8   Specifically, at least the following domain names had domain name servers configured to facilitate email:

                                                                                                         9   facebook-mails.com,        facebook-pass.com,        facebook-pw.com,          facebookvideodownload.net,
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                                                                                                        10   findfacebookid.com,      hackingfacebook.net,      hacksomeonesfacebook.com,         login-lnstargram.com,

                                                                                                        11   m-facebook-login.com, and singin-lnstargram.com, trollfacebook.com.

                                                                                                        12          69.     Defendants have registered multiple domain names that they know are identical or

                                                                                                        13   confusingly similar to marks of others that were distinctive at the time of registration of the domain names,
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                                                                                                        14   or dilutive of famous marks of others that were famous at the time of registration of the domain names. A

                                                                                                        15   table showing examples of some of Defendants’ registered domains is attached as Exhibit 8.

                                                                                                        16          70.     Plaintiffs’ Facebook Trademarks and Instagram Trademarks were distinctive and famous,

                                                                                                        17   when Defendants registered, used or trafficked in the Infringing Domain Names.

                                                                                                        18          F.      Defendants’ Failure to Disclose Contact Information

                                                                                                        19          71.     Under the RAA, OnlineNIC agreed that ID Shield “shall accept liability for harm caused

                                                                                                        20   by wrongful use of the Registered Name, unless it discloses the current contact information provided by

                                                                                                        21   the licensee and the identity of the licensee within seven (7) days to a party providing [ID Shield]

                                                                                                        22   reasonable evidence of actionable harm.” See Exhibit 4.

                                                                                                        23          72.     OnlineNIC and ID Shield’s service agreements anticipate that they will be sued for misuse

                                                                                                        24   of domain names, including for trademark infringement and cybersquatting, and require parties to their

                                                                                                        25   respective agreements to indemnify against such claims. See Exhibit 1 & 6.

                                                                                                        26          73.     ID Shield service agreement states (twice) that it will cancel its proxy service if a domain

                                                                                                        27   name is alleged to infringe on a third party’s trademark or if it receives valid evidence of trademark

                                                                                                        28   infringement. See Exhibit 6.
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                                                                                                                                                                                        SECOND AMENDED COMPLAINT
                                                                                                                                                                                           CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI          Document 109        Filed 06/01/21     Page 11 of 21


                                                                                                         1          74.     Plaintiffs’ authorized representatives sent at least five notices to ID Shield with evidence

                                                                                                         2   that the Infringing Domain Names caused Plaintiffs actionable harm and requesting that ID Shield disclose

                                                                                                         3   the identities of the registrant(s) (“Plaintiffs’ Notices”). For example:

                                                                                                         4                a. On April 23, 2019 Plaintiffs’ authorized representatives sent notice regarding

                                                                                                         5                   www-facebook-login.com.

                                                                                                         6                b. On May 2, 2019, Plaintiffs’ authorized representatives sent notice regarding: facebook-

                                                                                                         7                   fans-buy.com,       facebook-pass.com,       facebookphysician.com,     facebook-pw.com,

                                                                                                         8                   iamsocialfacebook.net, and iiinstagram.com.

                                                                                                         9                c. On May 14, 2019, Plaintiffs’ authorized representatives sent notice regarding: facebook-
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                                                                                                        10                   mails.com, facebookvideodownload.net, findfacebookid.com, instagram01.com, m-

                                                                                                        11                   facebook-login.com, and www-facebook-pages.com.

                                                                                                        12                d. On June 3, 2019, Plaintiffs’ authorized representatives sent notice regarding:

                                                                                                        13                   buyinstagramfans.com,       hackingfacebook.net,      hacksomeonesfacebook.com,     login-
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                                                                                                        14                   lnstagram.com, singin-lnstargram.com, and trollfacebook.com.

                                                                                                        15                e. On August 12, 2019, Plaintiffs’ authorized representatives sent notice regarding

                                                                                                        16                   instaface.org.

                                                                                                        17          75.     ID Shield failed to timely disclose the identity or any contact information of the licensee

                                                                                                        18   when presented with reasonable evidence of actionable harm by Plaintiffs or their authorized

                                                                                                        19   representatives that one or more domain names infringed or cybersquatted on the Facebook Trademarks

                                                                                                        20   and Instagram Trademarks.

                                                                                                        21                                         FIRST CAUSE OF ACTION

                                                                                                        22                  [Cybersquatting on Plaintiffs’ Trademarks Under 15 U.S.C. § 1125(d)]

                                                                                                        23          76.     Plaintiffs reallege and incorporate by reference all of the preceding paragraphs.

                                                                                                        24          77.     The Facebook Trademarks and Instagram Trademarks (collectively, “Plaintiffs’

                                                                                                        25   Trademarks”) were distinctive or famous and federally registered at the United States Patent and

                                                                                                        26   Trademark Office at the time Defendants registered, trafficked in or used the Infringing Domain Names.

                                                                                                        27          78.     The Facebook Trademarks and Instagram Trademarks (collectively, “Plaintiffs’

                                                                                                        28   Trademarks”) were distinctive or famous and federally registered at the United States Patent and
                                                                                                                                                           11
                                                                                                                                                                                         SECOND AMENDED COMPLAINT
                                                                                                                                                                                            CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI         Document 109         Filed 06/01/21       Page 12 of 21


                                                                                                         1   Trademark Office at the time the Licensees registered, trafficked in or used the Infringing Domain Names

                                                                                                         2          79.     One or more of the Infringing Domain Names are confusingly similar to Plaintiffs’

                                                                                                         3   Trademarks.

                                                                                                         4          80.     One or more of the Infringing Domain Names are dilutive of the Facebook Trademarks or

                                                                                                         5   Instagram Trademarks.

                                                                                                         6          81.     Defendants registered (as the registrant), used, or trafficked in one or more of the Infringing

                                                                                                         7   Domain Names with a bad faith intent to profit from Plaintiffs’ Trademarks.

                                                                                                         8          82.     Defendants do not have any trademark or other intellectual property rights in the Infringing

                                                                                                         9   Domain Names.
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                                                                                                        10          83.     The Infringing Domain Names do not consist of the legal name of any of the Defendants,

                                                                                                        11   nor do they consist of a name that is otherwise commonly used to identify them.

                                                                                                        12          84.     Defendants have not made any prior use of any of the Infringing Domain Names in

                                                                                                        13   connection with the bona fide offering of any goods or services.
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                                                                                                        14          85.     Defendants have not made any bona fide noncommercial or fair use of Plaintiffs’

                                                                                                        15   Trademarks on a website accessible at any of the Infringing Domain Names.

                                                                                                        16          86.     Defendants registered (as the registrant), used, and trafficked in one or more of the

                                                                                                        17   Infringing Domain Names to divert consumers from Plaintiffs’ legitimate websites to a website accessible

                                                                                                        18   under the Infringing Domain Names for Defendants’ commercial gain by creating a likelihood of

                                                                                                        19   confusion as to the source, sponsorship, affiliation, or endorsement of their websites.

                                                                                                        20          87.     Defendants’ registration, use, and/or trafficking in the Infringing Domain Names

                                                                                                        21   constitutes cybersquatting in violation of 15 U.S.C. § 1125(d), entitling Plaintiffs to relief.

                                                                                                        22          88.     The Licensees registered, trafficked in or used one or more of the Infringing Domain

                                                                                                        23   Names with a bad faith intent to profit from Plaintiffs’ Trademarks.

                                                                                                        24          89.     None of the Infringing Domain Names consist of the legal name of the Licensees nor do

                                                                                                        25   the Infringing Domain Names consist of a name that is otherwise commonly used to identify the Licensees.

                                                                                                        26          90.     The Licensees do not have any trademark or other intellectual property rights in the

                                                                                                        27   Infringing Domain Names.

                                                                                                        28          91.     The Licensees have not made any prior use of any of the Infringing Domain Names in
                                                                                                                                                            12
                                                                                                                                                                                         SECOND AMENDED COMPLAINT
                                                                                                                                                                                            CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI         Document 109        Filed 06/01/21      Page 13 of 21


                                                                                                         1   connection with the bona fide offering of any goods or services.

                                                                                                         2            92.    The Licensees have not made any bona fide noncommercial or fair use of Plaintiffs’

                                                                                                         3   Trademarks on a website accessible at any of the Infringing Domain Names.

                                                                                                         4            93.    Licensees registered, trafficked in, or used one or more of the Infringing Domain Names

                                                                                                         5   to divert consumers from Plaintiffs’ legitimate websites to websites accessible under the Infringing

                                                                                                         6   Domain Names for Licensees’ commercial gain by creating a likelihood of confusion as to the source,

                                                                                                         7   sponsorship, affiliation, or endorsement of their websites.

                                                                                                         8            94.    The Licensees registered multiple domain names which the Licensees knew were identical

                                                                                                         9   or confusingly similar to marks of others that were distinctive at the time of registration of such domain
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                                                                                                        10   names.

                                                                                                        11            95.    The Licensees have provided material and misleading false contact information for the

                                                                                                        12   Infringing Domain Names.

                                                                                                        13            96.    Licensees’ registration, trafficking in or use of the Infringing Domain Names constitutes
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                                                                                                        14   cybersquatting in violation of 15 U.S.C. § 1125(d), and has harmed Plaintiffs.

                                                                                                        15            97.    Since Defendants did not timely and accurately disclose the current contact information

                                                                                                        16   provided by the Licensees and the identity of the Licensees in response to Plaintiffs’ Notices prior to the

                                                                                                        17   filing of the original Complaint, Defendants are liable for the harm to Plaintiffs caused by those Licensees’

                                                                                                        18   registration, use, and/or trafficking in the Infringing Domain Names in violation of the Lanham Act.

                                                                                                        19            98.    Defendants and those persons who are in active concert or participation with Defendants,

                                                                                                        20   including Licensees, have irreparably harmed Plaintiffs and, if not enjoined, will continue to irreparably

                                                                                                        21   harm Plaintiffs and their federally registered trademarks and service marks.

                                                                                                        22            99.    Defendants and those persons who are in active concert or participation with Defendants,

                                                                                                        23   including Licensees, have irreparably harmed the general public, which has an interest in being free from

                                                                                                        24   confusion, mistake, and deception.

                                                                                                        25            100.   Plaintiffs’ remedy at law is not adequate to compensate it for the injuries Defendants and

                                                                                                        26   Licensees inflicted on Plaintiffs. Accordingly, Plaintiffs are entitled to permanent injunctive relief

                                                                                                        27   pursuant to 15 U.S.C. § 1116.

                                                                                                        28            101.   Plaintiffs are entitled to recover Defendants’ profits, Plaintiffs’ actual damages, and the
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                                                                                                                                                                                        SECOND AMENDED COMPLAINT
                                                                                                                                                                                           CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI         Document 109         Filed 06/01/21      Page 14 of 21


                                                                                                         1   costs of this action. Instead of actual damages and profits, Plaintiffs may alternatively elect to an award

                                                                                                         2   of statutory damages under 15 U.S.C. § 1117(d) in an amount of $100,000 per domain name.

                                                                                                         3          102.     This is an exceptional case, entitling Plaintiffs to an award of reasonable attorneys’ fees

                                                                                                         4   under 15 U.S.C. § 1117.

                                                                                                         5                                        SECOND CAUSE OF ACTION

                                                                                                         6                               [Trademark and Service Mark Infringement of

                                                                                                         7                               Plaintiffs’ Trademarks Under 15 U.S.C. § 1114]

                                                                                                         8          103.     Plaintiffs reallege and incorporate by reference all of the preceding paragraphs.

                                                                                                         9          104.     The Licensees have used Plaintiffs’ Trademarks in interstate commerce. The Licensees’
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                                                                                                        10   use of Plaintiffs’ Trademarks is likely to cause confusion, mistake, or deception as to the origin,

                                                                                                        11   sponsorship, or approval by Plaintiffs of the Licensees’ websites.

                                                                                                        12          105.     The above-described acts of the Licensees constitute trademark and service mark

                                                                                                        13   infringement in violation of 15 U.S.C. § 1114(1) and entitle Plaintiffs to relief.
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                                                                                                        14          106.     The Licensees have unfairly profited from the alleged trademark and service mark

                                                                                                        15   infringement.

                                                                                                        16          107.     By reason of the Licensees’ acts of trademark and service mark infringement, Plaintiffs

                                                                                                        17   have suffered damage to the goodwill associated with Plaintiffs’ Trademarks.

                                                                                                        18          108.     Defendants and those persons who are in active concert or participation with Defendants,

                                                                                                        19   including Licensees, have irreparably harmed Plaintiffs and, if not enjoined, will continue to irreparably

                                                                                                        20   harm Plaintiffs and their federally registered trademarks and service marks.

                                                                                                        21          109.     Defendants and those persons who are in active concert or participation with Defendants,

                                                                                                        22   including Licensees, have irreparably harmed the general public, which has an interest in being free from

                                                                                                        23   confusion, mistake, and deception.

                                                                                                        24          110.     Plaintiffs’ remedy at law is not adequate to compensate them for the injuries inflicted by

                                                                                                        25   Defendants and Licensees. Accordingly, Plaintiffs are entitled to permanent injunctive relief pursuant to

                                                                                                        26   15 U.S.C. § 1116.

                                                                                                        27          111.     Since Defendants did not timely and accurately disclose the current contact information

                                                                                                        28   provided by the Licensees and the identity of the Licensees in response to Plaintiffs’ Notices prior to the
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                                                                                                                                                                                         SECOND AMENDED COMPLAINT
                                                                                                                                                                                            CASE NO. 5:19-CV-07071-SVK
                                                                                                                     Case 3:19-cv-07071-SI        Document 109         Filed 06/01/21      Page 15 of 21


                                                                                                         1   filing of the original Complaint, Defendants are liable for the harm to Plaintiffs caused by those Licensees’

                                                                                                         2   use of the Infringing Domain Names in violation of the Lanham Act.

                                                                                                         3           112.   Plaintiffs are entitled to recover the Licensees’ profits, Plaintiffs’ actual damages, and the

                                                                                                         4   costs of this action. Plaintiffs’ are also entitled to have their damages trebled under 15 U.S.C. § 1117(a).

                                                                                                         5           113.   This is an exceptional case, making Plaintiffs eligible for an award of reasonable attorneys’

                                                                                                         6   fees pursuant to 15 U.S.C. § 1117(a).

                                                                                                         7                                         THIRD CAUSE OF ACTION

                                                                                                         8                  [Trademark and Service Mark Infringement of Plaintiffs’ Trademarks

                                                                                                         9                        and False Designation of Origin Under 15 U.S.C. § 1125(a)]
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                                                                                                        10           114.   Plaintiffs reallege and incorporate by reference all of the preceding paragraphs.

                                                                                                        11           115.   Plaintiffs’ Trademarks are distinctive marks that are associated with Plaintiffs and

                                                                                                        12   exclusively identify their respective businesses, products, and services.

                                                                                                        13           116.   The Licensees’ use in commerce of Plaintiffs’ Trademarks, and variations thereof, is likely
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                                                                                                        14   to cause confusion, or to cause mistake, or to deceive the relevant public that the Licensees’ goods and

                                                                                                        15   services are authorized, sponsored, or approved by, or are affiliated with, Plaintiffs.

                                                                                                        16           117.   The Licensees’ acts constitute trademark and service mark infringement of Plaintiffs’

                                                                                                        17   Trademarks, as well as false designation of origin, in violation of 15 U.S.C. § 1125(a), entitling Plaintiffs

                                                                                                        18   to relief.

                                                                                                        19           118.   The Licensees have unfairly profited from their conduct.

                                                                                                        20           119.   By reason of the above-described acts of the Licensees, Plaintiffs have suffered damage to

                                                                                                        21   the goodwill associated with Plaintiffs’ Trademarks.

                                                                                                        22           120.   Defendants and those persons who are in active concert or participation with Defendants,

                                                                                                        23   including Licensees, have irreparably harmed Plaintiffs and, if not enjoined, will continue to irreparably

                                                                                                        24   harm Plaintiffs and their federally registered trademarks and service marks.

                                                                                                        25           121.   Defendants and those persons who are in active concert or participation with Defendants,

                                                                                                        26   including Licensees, have irreparably harmed the general public, which has an interest in being free from

                                                                                                        27   confusion, mistake, and deception.

                                                                                                        28           122.   Plaintiffs’ remedy at law is not adequate to compensate them for the injuries inflicted by
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                                                                                                                                                                                         SECOND AMENDED COMPLAINT
                                                                                                                                                                                            CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI         Document 109        Filed 06/01/21      Page 16 of 21


                                                                                                         1   Defendants and Licensees. Accordingly, Plaintiffs are entitled to permanent injunctive relief pursuant to

                                                                                                         2   15 U.S.C. § 1116.

                                                                                                         3          123.    Since Defendants did not timely and accurately disclose the current contact information

                                                                                                         4   provided by the Licensees and the identity of the Licensees in response to Plaintiffs’ Notices prior to the

                                                                                                         5   filing of the original Complaint, Defendants are liable for the harm to Plaintiffs caused by those Licensees’

                                                                                                         6   use of the Infringing Domain Names in violation of the Lanham Act.

                                                                                                         7          124.    Plaintiffs are entitled to recover Defendants’ profits, Plaintiffs’ actual damages, and the

                                                                                                         8   costs of this action. Plaintiffs’ are also entitled to have their damages trebled under 15 U.S.C. § 1117(a).

                                                                                                         9          125.    This is an exceptional case, making Facebook eligible for an award of reasonable attorneys’
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                                                                                                        10   fees pursuant to 15 U.S.C. § 1117.

                                                                                                        11                                        FOURTH CAUSE OF ACTION

                                                                                                        12     [Dilution of the Facebook Trademarks and Instagram Trademarks Under 15 U.S.C. § 1125(c)]

                                                                                                        13          126.    Facebook and Instagram reallege and incorporate by reference all of the preceding
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                                                                                                        14   paragraphs.

                                                                                                        15          127.    The Facebook Trademarks and Instagram Trademarks are famous, as that term is used in

                                                                                                        16   15 U.S.C. § 1125(c), and they were famous before the Licensees’ use of them and variations of the

                                                                                                        17   trademarks in commerce. This fame is based on, among other things, the inherent distinctiveness and

                                                                                                        18   federal registration of each of the Facebook Trademarks and Instagram Trademarks as well as the

                                                                                                        19   extensive and exclusive worldwide use, advertising, promotion, and recognition of them.

                                                                                                        20          128.    The Licensees’ use of the Facebook Trademarks and Instagram Trademarks, and variations

                                                                                                        21   thereof, in commerce is likely to cause dilution by blurring or dilution by tarnishment of these trademarks.

                                                                                                        22          129.    The Licensees’ acts constitute dilution by blurring and dilution by tarnishment in violation

                                                                                                        23   of 15 U.S.C. § 1125(c), entitling Facebook and Instagram to relief.

                                                                                                        24          130.    The Licensees have unfairly profited from their conduct.

                                                                                                        25          131.    The Licensees damaged the goodwill associated with the Facebook Trademarks and the

                                                                                                        26   Instagram Trademarks and they will continue to cause irreparable harm.

                                                                                                        27          132.    Defendants and those persons who are in active concert or participation with Defendants,

                                                                                                        28   including Licensees, have irreparably harmed Plaintiffs and, if not enjoined, will continue to irreparably
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                                                                                                                                                                                        SECOND AMENDED COMPLAINT
                                                                                                                                                                                           CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI         Document 109         Filed 06/01/21     Page 17 of 21


                                                                                                         1   harm Plaintiffs and their federally registered trademarks and service marks.

                                                                                                         2          133.    Defendants and those persons who are in active concert or participation with Defendants,

                                                                                                         3   including Licensees, have irreparably harmed the general public, which has an interest in being free from

                                                                                                         4   confusion, mistake, and deception.

                                                                                                         5          134.    Plaintiffs’ remedy at law is not adequate to compensate them for the injuries inflicted by

                                                                                                         6   Defendants and Licensees. Accordingly, Plaintiffs are entitled to permanent injunctive relief pursuant to

                                                                                                         7   15 U.S.C. § 1116.

                                                                                                         8          135.    Since Defendants did not timely and accurately disclose the current contact information

                                                                                                         9   provided by the Licensees and the identity of the Licensees in response to Plaintiffs’ Notices prior to the
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                                                                                                        10   filing of the original Complaint, Defendants are liable for the harm to Plaintiffs caused by those Licensees’

                                                                                                        11   use of the Infringing Domain Names in violation of the Lanham Act.

                                                                                                        12          136.    Because Licensees acted willfully, Facebook and Instagram are entitled to damages against

                                                                                                        13   Defendants, and those damages should be trebled pursuant to 15 U.S.C. § 1117.
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                                                                                                        14          137.    This is an exceptional case, making Plaintiffs eligible for an award of attorneys’ fees

                                                                                                        15   pursuant to 15 U.S.C. § 1117.

                                                                                                        16                                           REQUEST FOR RELIEF

                                                                                                        17          WHEREFORE, Plaintiffs request:

                                                                                                        18          1.      That the Court find that Defendants registered, trafficked in or used one or more of the

                                                                                                        19   Infringing Domain Names with a bad faith intent to profit from Plaintiffs’ Trademarks in violation of

                                                                                                        20   15 U.S.C. § 1125(d).

                                                                                                        21          2.      That the Court enter a judgment against Defendants that Defendants have infringed the

                                                                                                        22   rights of Plaintiffs in Plaintiffs’ Trademarks in violation of 15 U.S.C. § 1125(d).

                                                                                                        23          3.      That the Court order each of the Infringing Domain Names be transferred to Plaintiffs.

                                                                                                        24          4.      That Plaintiffs be awarded Defendants’ profits and Plaintiffs’ actual damages, or, in the

                                                                                                        25   alternative, $100,000 in statutory damages per infringing domain name by reason of Defendants’

                                                                                                        26   cybersquatting, in accordance with the provisions of 15 U.S.C. § 1117(d).

                                                                                                        27          5.      That the Court find that:

                                                                                                        28
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                                                                                                                                                                                        SECOND AMENDED COMPLAINT
                                                                                                                                                                                           CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI        Document 109         Filed 06/01/21     Page 18 of 21


                                                                                                         1                  a.      Licensees have registered, trafficked in, or used one or more the Infringing Domain

                                                                                                         2   Names with a bad faith intent to profit from Plaintiffs’ Marks in violation of 15 U.S.C. § 1125(d);

                                                                                                         3                  b.      Licensees infringed the rights of Plaintiffs in the federally registered Facebook

                                                                                                         4   Trademarks and Instagram Trademarks, in violation of 15 U.S.C. § 1114(1);

                                                                                                         5                  c.      Licensees infringed the rights of Plaintiffs in Plaintiffs’ Marks in violation of

                                                                                                         6   15 U.S.C. § 1125(a);

                                                                                                         7                  d.      Licensees have diluted the federally registered Facebook Trademarks and

                                                                                                         8   Instagram Trademarks in violation of 15 U.S.C. § 1125(c);

                                                                                                         9                  e.      Defendants did not timely and accurately disclose the current contact information
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                                                                                                        10   provided by the Licensee and the identity of the Licensee in response to Plaintiffs’ Notices prior to the

                                                                                                        11   filing of the original Complaint; and

                                                                                                        12                  f.      Defendants are liable for the harm to Plaintiffs caused by those Licensees’ wrongful

                                                                                                        13   use of the Infringing Domain Names.
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                                                                                                        14          6.      That the Court enter a judgment against Defendants that Defendants are liable for the harm

                                                                                                        15   caused to Plaintiffs by the Licensees’ cybersquatting, trademark infringement and dilution of Plaintiffs’

                                                                                                        16   Trademarks.

                                                                                                        17          7.      That Plaintiffs be awarded the Licensees’ profits and Plaintiffs’ actual damages, or, in the

                                                                                                        18   alternative, $100,000 in statutory damages per infringing domain name by reason of the Licensees’

                                                                                                        19   cybersquatting, in accordance with the provisions of 15 U.S.C. § 1117(d).

                                                                                                        20          8.      That Plaintiffs be awarded Licensees’ profits and Plaintiffs’ actual damages, and costs of

                                                                                                        21   the action, by reason of Licensees’ trademark infringement and false designation of origin and that these

                                                                                                        22   damages be trebled in accordance with the provisions of 15 U.S.C. § 1117.

                                                                                                        23          9.      That Plaintiffs be awarded Licensees’ profits and Plaintiffs’ actual damages, and costs of

                                                                                                        24   the action, by reason of Licensees’ dilution of the federally registered Facebook Trademarks and

                                                                                                        25   Instagram Trademarks and that these damages be trebled in accordance with the provisions of

                                                                                                        26   15 U.S.C. § 1117.

                                                                                                        27          10.     That the Court find that ID Shield is an alter ego of OnlineNIC and that OnlineNIC is liable

                                                                                                        28   for ID Shield’s unlawful acts.
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                                                                                                                                                                                       SECOND AMENDED COMPLAINT
                                                                                                                                                                                          CASE NO. 5:19-CV-07071-SVK
                                                                                                                    Case 3:19-cv-07071-SI           Document 109         Filed 06/01/21     Page 19 of 21


                                                                                                         1           11.     That the Court find that ID Shield and OnlineNIC are alter egos of 35.CN and that 35.CN

                                                                                                         2   is liable of ID Shield’s and OnlineNIC’s unlawful acts.

                                                                                                         3           12.     That the Court find that OnlineNIC is the direct participant in the unlawful acts of

                                                                                                         4   ID Shield, and thus is liable for the harm caused.

                                                                                                         5           13.     That the Court find that 35.CN is the direct participant in the unlawful acts of ID Shield

                                                                                                         6   and OnlineNIC, and thus is liable for the harm caused.

                                                                                                         7           14.     That each of the above acts was willful.

                                                                                                         8           15.     That Defendants be ordered to account for and disgorge to Plaintiffs all amounts by which

                                                                                                         9   Defendants have been unjustly enriched by reason of the unlawful acts complained of.
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                                                                                                        10           16.     That Plaintiffs be awarded an amount sufficient to reimburse Plaintiffs for the costs of

                                                                                                        11   corrective advertising.

                                                                                                        12           17.     That Plaintiffs be awarded prejudgment interest on all infringement damages.

                                                                                                        13           18.     That Defendants and their agents, employees, successors, and assigns, and all other persons
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                                                                                                        14   acting in concert with or in conspiracy with or affiliated with Defendants, be permanently enjoinined and

                                                                                                        15   restrained from:

                                                                                                        16                   a.        Registering, using, or trafficking in any domain name that is identical or

                                                                                                        17   confusingly similar to the Facebook Trademarks or the Instagram Trademarks;

                                                                                                        18                   b.        Engaging in any use, including advertising, promoting, marketing, franchising,

                                                                                                        19   selling, and offering for sale any goods or services, on or in connection with the Facebook Trademarks or

                                                                                                        20   the Instagram Trademarks, or any similar mark or designation, that is likely to cause confusion, or to cause

                                                                                                        21   mistake as to the affiliation of that use with Plaintiffs; and

                                                                                                        22                   c.        Engaging in any activity which lessens the distinctiveness or tarnishes the Facebook

                                                                                                        23   Trademarks or the Instagram Trademarks.

                                                                                                        24           19.     That the Court award Plaintiffs their reasonable attorneys’ fees pursuant to

                                                                                                        25   15 U.S.C. § 1117 and any other applicable provision of law.

                                                                                                        26           20.     That the Court award Plaintiffs their costs of suit incurred herein.

                                                                                                        27           21.     That the Court award such other or further relief as the Court may deem just and proper.

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                                                                                                                                                                                             CASE NO. 5:19-CV-07071-SVK
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                                                                                                         1                                     DEMAND FOR TRIAL BY JURY
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                                                                                                         3           Plaintiffs Facebook, Inc. and Instagram, LLC, hereby demand a trial by jury to decide all issues

                                                                                                         4   so triable in this case.

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